          Case 1:23-bk-10324-VK                   Doc 34 Filed 07/12/23 Entered 07/12/23 14:25:40                                       Desc
                                                   Main Document Page 1 of 2

 Attorney or Party Name, Address, Telephone & FAX Nos.,                          FOR COURT USE ONLY
 State Bar No. & Email Address

 James R. Selth - Bar #123420
 WEINTRAUB ZOLKIN TALERICO & SELTH LLP
                                                                                                         FILED & ENTERED
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                                                                                                           Central District of California
 E-mail: jselth@wztslaw.com                                                                                BY Pgarcia DEPUTY CLERK




                                                                                                CHANGES MADE BY COURT
     Debtor(s) appearing without attorney
     Attorney for: Debtor, LISA M. FANCHER

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SAN FERNANDO VALLEY DIVISION

 In re:                                                                          CASE NO.: 1:23-bk-10324-VK
                                                                                 CHAPTER: 13
 LISA M. FANCHER,

                                                                                      ORDER ON OBJECTIONS TO CLAIMS


                                                                                 DATE: July 11, 2023
                                                                                 TIME: 11:00 a.m.
                                                                                 COURTROOM: 301
                                                                                 PLACE: 21041 Burbank Boulevard
                                                                                        Woodland Hills, CA 91367

                                                                 Debtor(s).

The Debtor or trustee having filed objections to certain claims, the court having considered the evidence and argument
presented in support and in opposition to such objections, if any, and good cause appearing, the court makes the
following ruling as to the objections to claims:

(NOTES FOR USE OF THIS FORM: List claims in ascending numerical order based upon the clerk’s claim number. Use
a separate box below for each claim. Attach as many continuation pages as are necessary.)


  Calendar Number: 43                          Claim Number: 11                              Claim Amount: $ 1,000,000.00

  Claimant Name: Louis Mayorga

     Disallowed              Allowed                Unsecured: $                                  Priority: $
  Comments:




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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        Case 1:23-bk-10324-VK                   Doc 34 Filed 07/12/23 Entered 07/12/23 14:25:40                                       Desc
                                                 Main Document Page 2 of 2



 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed             Allowed               Unsecured:                                   Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed             Allowed               Unsecured:                                   Priority: $
 Comments:


 Calendar Number:                           Claim Number:                                Claim Amount: $

 Claimant Name:

    Disallowed             Allowed               Unsecured:                                   Priority: $
 Comments:



                                                                        ###




                Date: July 12, 2023




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